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                                          ORDERED.

     Dated: November 23, 2018




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

In re:

JAMES E. LAMCA,                                              Case No.: 6:18-bk-01775-CCJ
                                                             Chapter 7
         Debtor.
                                      /

               ORDER AUTHORIZING EMPLOYMENT OF ACCOUNTANT

         Under the application of the Trustee requesting authority to employ and appoint Steven M.
Vanderwilt, Certified Public Accountant, as accountant for the Trustee, and upon the Declaration of
Steven M. Vanderwilt in support of Trustee’s Application to Employ Accountant (Document No.
48) and it appearing that no notice of hearing on said application should be given and no adverse
interest being represented, and the Court being satisfied that Steven M. Vanderwilt represents no
interest adverse to the Trustee or the estate in matters in which he is employed, and that the
employment is necessary and would be in the best interest of the estate, it is
         ORDERED that Gene T. Chambers, as Trustee herein, be and is authorized to employ Steven
M. Vanderwilt to represent her as accountant, upon the terms and conditions contained in the
application, provided that all fees to which Steven M. Vanderwilt may become entitled to by virtue
of his services under this Order shall be subject to judicial determination under 11 U.S.C. §330. No
payment whatsoever shall be made absent application and order. The hourly rate is not guaranteed
and is subject to review.

Trustee, Gene T. Chambers, is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and file a proof of service within 3 days of entry of the order.
